                                   _________________________________ ___________
                                                               ___________       _
                                                                            ___________
                                                                             ___________
                                                                                        ____________
                                                                                        _______         __________




                   Case 2:20-bk-14840-VZ                         Doc 1 Filed 05/27/20 Entered 05/27/20 16:50:24                                        Desc
                                                                 Main Document    Page 1 of 10

Fill in this information to identify your case:

United States Bankruptcy Court for the:


CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                              Chapter       11
                                                                                                                                         Check if this an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        04120
                                                                                                                             and the case number (if
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
known). For more information, a separate document, Instructions for Bankruptcy Forms
                                                                                          for Non-Individuals, is available,


1.    Debtors name                        Casa   De Las Investments, LLC

2.    All other names debtor
      used in   the   last   8   years

      Include any assumed
      names, trade names and
      doing business as names

 3.   Debtor’s federal
      Employer Identification             81-1 235501
      Number (EIN)



 4.   Debtor’s address                    Principal place of business                                     Mailing address, if   different from principal place of
                                                                                                          business

                                          106 1/2 Judge John Also Street, Ste 209
                                                                 90012
                                                Angeles,   CA
                                          Los




                                          Number, Street, City, State & ZIP Code                           P.O. Box,   Number, Street, City, State    & ZIP Code

                                          Los Angeles                                                      Location of principal assets, if different from principal
                                                                                                           place of business
                                          County

                                                                                                           Number, Street. City, State   &   ZIP   Code



      Debtor’s website (URL)
                                                                                                                                                                          —.



 5.


 6.   Type of debtor                       •   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                               Partnership (excluding LLP)

                                           C   Other. Specify:




                  201                                Voluntary Petition   for Non-Individuals Filing for Bankruptcy                                                page   .
  Official Form
                     Case 2:20-bk-14840-VZ                         Doc 1 Filed 05/27/20 Entered 05/27/20 16:50:24                                              Desc
                                                                   Main Document    Page 2 of 10
Debtor                                                                                                               Case number ((known)
             Casa De Las Investments, LLC
             Narno


7,      Describe debtors business          A. Check one
                                           C    Health Care Business (as defined in 11 U.S.C.            §   101(27A))

                                           C    single Asset Real Estate (as defined in 11 U.S.C.            §   101(51 B))

                                           C    Railroad (as defined in 11 U.S.C.   §   101 (44))
                                           C    Stockbroker (as defined in 11 U.S.C.     §   101(53A))
                                           C    Commodity Broker (as defined in 11 U.S.C.           §   101(6))
                                           C    Clearing Bank (as defined in 11 U.S.C.       §   781(3))

                                           • None of the above

                                           B. Check all that apply
                                           C    Tax-exempt entity (as described in 26 U.S.C. §501)
                                           C    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U S.C §80a-3)
                                           C    Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                              See http:llwww. uscourts.govlfour-digit-national-association-naics-codes.



8.      Under which chapter of the         Check one:
        Bankruptcy Code is the             C    Chapter 7
        debtor filing?
                                           C     Chapter 9

        A debtor who is a “small        • Chapter 11. Check all that apply
        business debtor” must check                      C     The debtor is a small business debtor as defined in 11 U.S.C § 101 (51D), and its aggregate
        the first sub-box. A debtor as                         noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
        defined in § 1182(1) who
                                                               $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
        elects to proceed under                                operations, cash-flow statement, and federal income tax return or if any of these documents do not
        subchapter V of chapter 11                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
        (whether or not the debtor is a
        “small business debtor”) must                    C     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
        check   the second  sub-box.                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                               balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                               any of these documents do not exist, follow the procedure in 11 U S.C. § 1116(1)(B).
                                                                   C    A plan is being filed with this petition.
                                                                    C   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                        accordance with 11 U.S.C. § 1126(b).
                                                                    C   The debtor is required to file periodic reports (for example, 10K and 1 OQ) with the Securities and
                                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                        Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                        (Official Form 201A) with this form.
                                                                    C   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2
                                            C    Chapter 12


 9.      Were prior bankruptcy              • No
         cases filed by or against
         the debtor within the last 8       C   Yes.
         years?
         If more than 2 cases, attach a                                                                                                     Case number
                                                        District                                        When
         separate list.
                                                        District                                        When                                Case number


 10.     Areanybankruptcycases              •No
         pending or being filed by a
         business partner or an             C    Yes.
         affiliate of the debtor?
         List all cases. If more than 1,                                                                                                    Relationship
         attach a separate list                         Debtor
                                                        District                                        When                                Case number, if known



                                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 2
     Official Form 201
                                                                     ______________________
                                                                                 ___________ ___________
                                                                                      ___________        ______ __
                                                                                                        _____
                                                                                                  ___________
                                                                                            ___________

                   Case 2:20-bk-14840-VZ                              Doc 1 Filed 05/27/20 Entered 05/27/20 16:50:24                                       Desc
                                                                      Main Document    Page 3 of 10
Debtor                                                                                                         Case number   (if known)
            Casa De Las Investments, LLC
            Name


11.    Why is the case filed in    Check all that apply:
       this district?
                                   I          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                   C          A bankruptcy case concerning debtors affiliate, general partner, or partnership is pending in this district.


12.    Does the debtor own or      • No
       have possession of any
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed
       real property or personal   C Yes
       property that needs
       immediate attention?                       Why does the property need immediate attention? (Check allthat apply.)
                                                   C         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?
                                                   C         It needs to be physically secured or protected from the weather.
                                                   C      It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                         livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                     C       Other
                                                  Where is the property?
                                                                                           Number, Street, City, State & ZIP Code
                                                     Is the property insured?
                                                     CN0
                                                     C Yes.          Insurance agency
                                                                     Contact name
                                                                     Phone



             Statistical and administrative information

13.      Debtor’s estimation of     .            Check one:
         available funds
                                                 I Funds will be available for distribution to unsecured creditors.
                                                 C   After any administrative expenses are paid, no funds will be available to unsecured creditors.


 14.     Estimated number of            • 1-49                                                 C    1000-5000                              C 25,001-50.000
         creditors                                                                             C    5001-10,000                            C   50,001-100,000
                                        C   50-99
                                                                                               C    10,001-25.000                          C   More thanlOO,000
                                        C   100-1 99
                                        C   200-999


 15.     Estimated Assets               C   $0- $50,000                                         I $1,000,001 $10 million
                                                                                                               -
                                                                                                                                           C $500,000,001 $1 billion
                                                                                                                                                             -




                                        C   $50,001 $100,000
                                                         -                                      C   $10,000,001 $50 million
                                                                                                                   -
                                                                                                                                           C   $1,000,000,001 $10 billion
                                                                                                                                                                 -




                                        C   $100,001 $500,000-
                                                                                                C   $50,000,001 $100 million
                                                                                                                   -
                                                                                                                                           C   $10,000,000,001 $50 billion
                                                                                                                                                                     -




                                        C   $500,001 $1 million  -                              C   $100,000,001 $500 million
                                                                                                                       -
                                                                                                                                           C   More than $50 billion


 16.     Estimated liabilities          C   $0- $50,000                                         I $1,000,001 $10 million
                                                                                                               -
                                                                                                                                           C   $500,000,001 $1 billion
                                                                                                                                                             -




                                        C   $50,001 $100,000 -                                  C   $10,000,001 $50 million
                                                                                                                   -
                                                                                                                                           C   $1,000,000,001 $10 billion
                                                                                                                                                                 -




                                        C   $100,001 $500,000    -
                                                                                                C   $50,000,001 $100 million
                                                                                                                   -
                                                                                                                                           C   $10,000,000,001 $50 billion
                                                                                                                                                                     -




                                        C   $500,001 $1 million  -
                                                                                                C   $100,000,001 $500 million
                                                                                                                       -
                                                                                                                                           C   More than $50 billion




                                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                        page 3
  Official Form 201
                  Case 2:20-bk-14840-VZ                    Doc 1 Filed 05/27/20 Entered 05/27/20 16:50:24                                       Desc
                                                           Main Document    Page 4 of 10
Debtor    Casa De Las Investments, LLC                                                                Case number   (if known)

          Name


          Request for Relief, Declaration, and Signatures

WARNING    --   Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                imprisonment for up to 20 years, or both. 18 U.S.C. § 152, 1341 1519, and 3571.

17. Declaration and signature
    of authorized                   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                    I have been authorized to file this petition on behalf of the debtor.

                                    I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                    I declare under penalty of perjury that the foregoing is true and correct.

                                    Executed on         May 27,2020
                                                     MM / DD / YYYY


                                x                                                                           Lillie B. Whitehead
                                                                                                            Printed name
                                    Signature of authorized representative of debtor

                                    Title   CEO and Managing Member




18. Signature of attorney       X
                                    Signature of attorney for
                                                                   ,i74h&-                                       Date
                                                                                                                        MJDD /,4YY
                                                                                                                                            0
                                     Michael Jay Berger
                                     Printed name

                                     Law Offices of Michael Jay Berger
                                     Firm name

                                     9454 Wilshire Boulevard, 6th floor
                                     Beverly Hills, CA 90212
                                     Number, Street, City, State & ZIP Code


                                     Contact phone     (310) 271-6223                Email address      michael.bergerbankruptcypower.com


                                     100291 CA
                                     Bar number arid State




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                 ______________________________                 ______                               ___________________________
                                                                                                  ________                                         _______________




              Case 2:20-bk-14840-VZ                    Doc 1 Filed 05/27/20 Entered 05/27/20 16:50:24                                                   Desc
                                                       Main Document    Page 5 of 10


                                STATEMENT OF RELATED CASES
                             INFORMATION REQUIRED BY LBR 1015-2
              UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
    against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
    copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
    corporation of which the debtor is a director, officer, or person in control, as follows; (Set forth the complete number
    and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
    assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
    included in Schedule NB that was filed with any such prior proceeding(s).)
 None

2.  (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
    debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
    debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
    complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
    and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
    any real property included in Schedule NB that was filed with any such prior proceeding(s).)
 None

3.  (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
    previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
    of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
    of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
    or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
    such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
    still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   NB that was filed with any such prior proceeding(s).)
 None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule NB
   that was filed with any such prior proceeding(s).)
None

I declare, under penalty of perjury, that the foregoing is true and correct.
 Executed at      Los Angeles                                        ,   California.
                                                                                                       Lillie B. Whitehead
Date:                             May 27, 2020                                                         Signature of Debtor 1



                                                                                                       Signature of Debtor 2




                   This form is mandatory. It has been approved for use in the united States Bankruptcy Court for the Central District of California.
October2018                                                                 Page 1              F 101 521 STMT.RELATED.CASES
                                     ________________________________

                    Case 2:20-bk-14840-VZ                          Doc 1 Filed 05/27/20 Entered 05/27/20 16:50:24                                             Desc
                                                                   Main Document    Page 6 of 10

Fill in this information to identi’ the case:
Uebtor name Casa De Las Investments, LLC
United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                    D Check if this is an
                                              CALIFORNIA
Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and            Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
complete mailing address,       and email address of   (for example, trade              is contingent,     If the claim is fully unsecured, fill in Only unsecured claim amount If
including zip code              creditor contact       debts, bank loans,              unliquidated, or    claim is partially secured, till in total claim amount and deduction for
 ,                                                     professional services,              disputed        value of collateral or setoff to calculate unsecured claim.
                                                       and government                                      Total claim, if             Deduction for value       Unsecured claim      —




                                                       contracts)                                          partially secured           of collateral or setoff
-NONE-




Official form 204                               Chapter 11 or Chapter 9 Cases List of Creditors Who Have the 20 Largest Unsecured claims                                  page 1

Software Copyright Id 19962O2O Best Case, LLC -www bestcase corn                                                                                             Best Case Bankruptcy
                                                                                                           ___________
                                                                                                                      _ ______




               Case 2:20-bk-14840-VZ                           Doc 1 Filed 05/27/20 Entered 05/27/20 16:50:24                             Desc
                                                               Main Document    Page 7 of 10




    Fill in this information to identify the case:

    Debtor name         Casa De Las Investments, LLC

    United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

    Case number (if known)

                                                                                                                                 Q Check if this is an
                                                                                                                                    amended filing


  Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12115
  An individual who is authorized to act on behalf of a non-individual debtor, such
                                                                                     as a corporation or partnership, must sign and submit this
  form for the schedules of assets and liabilities, any other document that requires
                                                                                      a declaration that is not included in the document, and any
  amendments of those documents. This form must state the individual’s position
                                                                                     or relationship to the debtor, the identity of the document,
  and the date. Bankruptcy Rules 1008 and 9011.

  WARNING Bankruptcy fraud is a serious crime. Making a false statement,
               --
                                                                              concealing property, or obtaining money or property by fraud in
  connection with a bankruptcy case can result in fines up to $500,000 or imprisonmen
                                                                                      t for up to 20 years, or both. 18 U.S.C.
  1519, and 3571.                                                                                                              § 152, 1341,


                    Declaration and signature


           am the president, another officer, or an authorized agent of the corporation, a
                                                                                           member or an authorized agent of the partnership; or another
         individual serving as a representative of the debtor in this case.

          have examined the information in the documents checked below and I have a reasonable
                                                                                               belief that the information is true and correct

          •         Schedule A/B: Assets—Real and Personal Property (Official Form 206A1B)
          •         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          •         Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          •         Schedule G: Executo,y Contracts and Unexpired Leases (Official Form 206G)
          •         Schedule H: Codebtors (Official Form 206H)
          •         Summary of Assets and Liabilities for Non-Individuals (Official Form 2O6Sum)
                    Amended
                              Schedule
         •          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
                                                                                                       Claims and Are Not Insiders (Offial Form 204)
                    Other document that requires a declaration

        I declare under penalty of perjury that the foregoing is true and correct.

         Executed on               May 27, 2020                     X______________________________________________________
                                                                      Signature of individual signing on behalf of debtor

                                                                      Lillie B. Whitehead
                                                                      Printed name

                                                                      CEO and Managing Member
                                                                      Position or relationship to debtor




Official Form 202                                            Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best case, LLC -www.bestcase.com
                                                                                                                                           Best Case Bankruptcy
                                                                                      _________________




           Case 2:20-bk-14840-VZ                        Doc 1 Filed 05/27/20 Entered 05/27/20 16:50:24                                                  Desc
                                                        Main Document    Page 8 of 10
 Attorney or Party Name, Address, Telephone & FAX Nos.,                              FOR COURT USE ONLY
 State Bar No. & Email Address
 Michael Jay Berger
 9454 Wilshire Boulevard, 6th floor
 Beverly Hills, CA 90212
 (310) 271-6223 Fax: (310) 271-9805
 California State Bar Number: 100291 CA
 michael.berger@bankruptcypower.com




 1J Debtor(s) appearing without an attorney
 • Attorney for Debtor


                                                       UNITED STATES BANKRUPTCY COURT
                                                         CENTRAL DISTRICT OF CALIFORNIA

 In re:
                                                                                     CASE NO.:
                Casa De Las Investments LLC
                                                                                     CHAPTER: 11




                                                                                                         VERIFICATION OF MASTER
                                                                                                        MAILING LIST OF CREDITORS

                                                                                                                      [LBR 1007-1 (a)]

                                                                 Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor’s attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 2 sheet(s) is complete, correct, and
consistent with the Debtor’s schedules and I/we assume all responsibility for errors and omissions.

 Date:                  May 27, 2020
                                                                                            Signature of Debtor 1

 Date:


 Date:               c/7/o                                                             M’*
                                                                                            S     ture of Debtor/a (joint ebtor) ),f applicable)


                                                                                            Si9nature of Attorne7’Deb r (if applicable)




                     This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California
December 2015                                                                                         F 1007-1.MAILING.LIST.VERIFICATION
Case 2:20-bk-14840-VZ   Doc 1 Filed 05/27/20 Entered 05/27/20 16:50:24   Desc
                        Main Document    Page 9 of 10



                    Casa De Las Investments, LLC
                    106 1/2 Judge John Aiso Street, Ste 209
                    Los Angeles, CA 90012


                    Michael Jay Berger
                    Law Offices of Michael Jay Berger
                    9454 Wilshire Boulevard, 6th floor
                    Beverly Hills, CA 90212


                    Anchor Loans LP
                    5230 Las Vergenes Road, Ste 105
                    Calabasas, CA 91302


                    Arazzatius, LLC
                    1330 West Magnolia
                    Compton, CA 90220


                    Cover Management Group,      Inc.
                    14116 Ocean Gate Avenue
                    Hawthorne, CA 90250


                   ECI Lender Services, Inc.
                   c/o RWA Trust Dated March 14, 2014
                   8180 East Kaiser Blvd
                   Anaheim, CA 92808


                    Fernando Reyes dba Maestro Fidencio
                    2540 W. Washington Street, Ste 308
                    Indianapolis, IN 46222


                   Los Angeles County Tax Collector
                   FOB 54018
                   Los Angeles, CA 90054
Case 2:20-bk-14840-VZ   Doc 1 Filed 05/27/20 Entered 05/27/20 16:50:24   Desc
                        Main Document    Page 10 of 10



                   Marino County Tax Collector
                   200 E. Washington Street, Ste 1360
                   Indianapolis, IN 46204


                   MoBro Investments, LLC
                   P0 Box 30414
                   Indianapolis, IN 46230


                   Note Servicing Center, Inc.
                   3275 E. Robertson Blvd., Suite B
                   Chowchilla, CA 93610


                   Ruddy Andres Velez dba Los Nitidos
                   2540W. Washington St., Suite 102
                   Indianapolis, IN 46222


                   Tammy Walker
                   10107 England Avenue #4
                   Inglewood, CA 90303
